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June 13, 2023

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Dear Counsel for Vehicle Manufacturers:
The National Highway Traffic Safety Administration (NHTSA) is sending this letter to advise
vehicle manufacturers of their obligations under the National Traffic and Motor Vehicle Safety
Act (Safety Act), 49 C.F.R. Chapter 301, in light of a Massachusetts law that NHTSA believes
poses significant safety concerns. That law, previously known as SD645 and now codified at
Chapter 93K of the Massachusetts General Laws (the Data Access Law), requires open remote
access to vehicle telematics. 1 As explained below, the Data Access Law conflicts with and
therefore is preempted by the Safety Act.

While NHTSA has stressed that it is important for consumers to continue to have the ability to
choose where to have their vehicles serviced and repaired, consumers must be afforded choice in




1
 NHTSA understands that Massachusetts stated its intent to enforce the law beginning on June 1, 2023. Alliance for
Automotive Innovation v. Campbell, Case No. 1:20-cv-12090, Dkt. No. 330 (“Notice of Intent to Terminate Non-
Enforcement Stipulation”) (D. Mass) (hereinafter “Notice of Intent”).
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a manner that does not pose an unreasonable risk to motor vehicle safety. 2 In this case, NHTSA
previously described its serious safety concerns with the Data Access Law’s requirement of open
remote access in a filing in pending federal district court litigation that challenges the law.
Alliance for Automotive Innovation v. Campbell, Case No. 1:20-cv-12090, Dkt. No. 202 (D.
Mass) (“United States’ Statement of Interest”). 3 The open remote access to vehicle telematics
effectively required by this law specifically entails “the ability to send commands.” 4 Open access
to vehicle manufacturers’ telematics offerings with the ability to remotely send commands
allows for manipulation of systems on a vehicle, including safety-critical functions such as
steering, acceleration, or braking, as well as equipment required by Federal Motor Vehicle Safety
Standards (FMVSS) such as air bags and electronic stability control. A malicious actor here or
abroad could utilize such open access to remotely command vehicles to operate dangerously,
including attacking multiple vehicles concurrently. 5 Vehicle crashes, injuries, or deaths are
foreseeable outcomes of such a situation.

Vehicle manufacturers appear to recognize that vehicles with the open remote access telematics
required by the Data Access Law would contain a safety defect. Federal law does not allow a
manufacturer to sell vehicles that it knows contain a safety defect. See 49 U.S.C. §§ 30112(a)(3);
30118(c)(1). Furthermore, as you are aware, the Safety Act imposes an affirmative obligation on
vehicle manufacturers to initiate a recall of vehicles that contain a safety defect. 49 U.S.C. §
30118(c).

Given the serious safety risks posed by the Data Access Law, taking action to open remote
access to vehicles’ telematics units in accordance with that law, which requires communication
pathways to vehicle control systems, would conflict with your obligations under the Safety Act. 6
“The purpose of the Safety Act . . . is not to protect individuals from the risks associated with
defective vehicles only after serious injuries have already occurred; it is to prevent serious


2
  To ensure consumers have adequate access to repair facilities, a 2014 Memorandum of Understanding (MOU)
already provides secure access to vehicle telematics to independent repair facilities nationwide. See MOU (Jan. 15,
2014) available at https://www.autocare.org/docs/default-source/government-affairs/r2r-mou-and-agreement-
signed.pdf.
3
 See also Letter from James Owens, Deputy Administrator, NHTSA, to Massachusetts’s Joint Committee on
Consumer Protection and Professional Licensure (Jul. 20, 2020) available at
https://www.nhtsa.gov/sites/nhtsa.gov/files/documents/nhtsa_testimony_in_response_to_ma_committee_letter_july_
20_2020.pdf.

4
    Mass. Gen. Laws 93K § 2(f).
5
  As NHTSA has previously stated: “Wireless interfaces into vehicle systems create new attack vectors that could
potentially be remotely exploited. Unauthorized wireless access to vehicle computing resources could scale rapidly
to multiple vehicles without appropriate controls.” Cybersecurity Best Practices for the Safety of Modern Vehicles at
15 (Sept. 2022), available at https://www.nhtsa.gov/sites/nhtsa.gov/files/2022-09/cybersecurity-best-practices-
safety-modern-vehicles-2022-tag.pdf.

6
 See, e.g., NHTSA Recall No. 15V-461, available at https://static.nhtsa.gov/odi/rcl/2015/RCLRPT-15V461-
9313.PDF; NHTSA Recall No. 15V-508, available at https://static.nhtsa.gov/odi/rcl/2015/RCLRPT-15V508-
8738.PDF.
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injuries stemming from established defects before they occur.” United States v. Gen. Motors
Corp., 565 F.2d 754, 759 (D.C. Cir. 1977).

NHTSA is aware that certain vehicle manufacturers have stated an intent to disable vehicle
telematics, presumably to avoid the application of the Data Access Law to their vehicles. 7 This
measure has its own adverse impacts on safety. For example, telematics-based safety features
could facilitate better emergency response in the event of a vehicle crash. Telematics data can
also be an important source of information for safety oversight and field performance monitoring
by the authorities and vehicle manufacturers. NHTSA often utilizes telematics data in its
investigations, and the inability to obtain these data from vehicles with this capability
undermines the agency’s ability to fully examine safety-related issues. In addition, some vehicle
manufacturers have the ability to fix safety problems by remedying recalls through vehicle
telematics, which will be lost if those systems are disabled. Manufacturers should assess the
impacts of any planned actions on roadway safety comprehensively.

We appreciate your attention to this important safety matter and trust you will give your highest
priority to ensuring motor vehicle safety. Because the Safety Act conflicts with and therefore
preempts the Data Access Law, NHTSA expects vehicle manufacturers to fully comply with
their Federal safety obligations.

                                                     Sincerely,

                                                     KERRY E              Digitally signed by
                                                                          KERRY E KOLODZIEJ

                                                     KOLODZIEJ            Date: 2023.06.13
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7
    Notice of Intent.
